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                                                                                 May 1, 2023

          VIA ECF
          The Honorable Sanket J. Bulsara
          United States Magistrate Judge
          United States District Court
          Eastern District of New York
          225 Cadman Plaza East
          Brooklyn, New York 11201

                   Re:        P.D. v. Neifeld, et al., 21-cv-06787 (CBA) (SJB)

          Dear Judge Bulsara:

                   We represent Plaintiff in the above-referenced matter and, together with Defendants Kerri
          Neifeld, the Acting Commissioner of the New York State Office for People with Developmental
          Disabilities (“OPWDD”) and Mary Bassett, the Commissioner of the New York State
          Department of Health, jointly request an adjournment of the parties’ status conference currently
          scheduled for May 2, 2023 for 90 days or such time that is convenient for the Court and a
          corresponding extension of all discovery deadlines by 90 days. The parties further request that
          their deadline for filing pre-motion letters in anticipation of summary judgment continue to be stayed
          until thirty days after the completion of all discovery.

                  As the Court is aware, the primary goal of Plaintiff’s lawsuit was to secure a permanent
          community placement for Plaintiff P.D., and that goal has now been achieved. The parties are
          pleased to report that P.D. was transferred on April 27, 2023 to a new Individual Residential
          Alternative (“IRA”) within the community established by a private agency known as AHRC,
          with OPWDD-funded supports. This is a very positive development. The parties request an
          adjournment of the existing deadlines and status conference to provide additional time for P.D. to
          become acclimated to his new IRA residence and to give the parties an opportunity to resolve the
          issues raised in the litigation beyond P.D.’s placement in the community.

                   We appreciate the Court’s attention to this matter.
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 KASOWITZ BENSON TORRES LLP
 MAY 1, 2023
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 Respectfully submitted,

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